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ATTORNEYS AT LAW

.Ta.nuary 22, 2019

VIA ECF AND ]E[AND DELIVERY
HONORABLE RAYMOND J. DEARIE
UNITED STATES DISTRICT COURT J'UDGE
UN'ITBD STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

225 Cadman Plaza East

Brooklyn, NY 11201

Re: Riseboro Community Partnership Ine., against
SunAmerica Housing Fund No. 682, et al.
Docket No. 18-cv-07261 (RJD)
JOINT LETTER TO THE COURT REGARDING A BRIEFING
SCHEDULE AND ADJOURNMENT OF DEFENDANTS’ TIME TO
RESPON.D TO T]E[E COMPLA]NT

Hon. Judge Dearie:

This office represents plaintiff in the above referenced action currently pending
before your Honor. I respectfully submit this Joint'letter, on behalf of Plaintiff and Defendants
SunAmerica Housing Fund 682 (“SunAmerica”) and SLP Housing I, LLC’s (“SLP”) (collectively,
“Defendants”), after consultation between the attorneys (myself and Mr. Juan L Garcia, attorney
for the Defendants) and Ms. Mulqueen from your Honors Chambers.

On Friday, January 18, 2019, Your Honor issued an order waiving Plaintiff’s
requirement for a pre-motion conference and directed the parties to agree to a briefing schedule
and to jointly contact Ms. Mulqueen for a suitable return date. This letter is a follow up to the
Parties conference with Ms. Mulqueen and as directed by her.

Further, this letter also addresses a second issue, raised by Defendants, regarding
their time to respond to the Complaint in this Action. The parties have likewise conferred on this
issue and have come to an amicable resolution.

With respect to PlaintiH’s Motion to Remand, the parties have agreed to the
following briefing schedule:

1. Pla:intiff’s motion will be deemed iiled with the Court today, upon the filing of
this letter. Plaintiff will email the motion and all supporting papers to Mr.
Garcia aRer filing this letter with the Court

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0 646 768.4‘|00 F 646.219 2450 E info@goldsteinha||.c:em W

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Jan. 22, 2019
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2. Defendants’ opposition to the motion will be due on March 1, 2019, Defendants

will email the opposition and all supporting documents to the undersigned on
that date.

3. Plaintiff’s Reply will be due on March 22, 2019, which shall be emailed to Mr.
Garcia, along with all supporting documents on that date.

Ms. Mulqeen advised that the Court will inform the parties as to the return date of
the motion. It was also understood by myself and Mr. Garcia that on March 22, 2018 the parties
will collectively upload the motion, opposition and reply to the Court’s PACER system.

The second issue raised on our call today with Ms. Mulqueen was Defendants’
request, consented to by Plaintiff, that Defendants’ time to answer, move against, or otherwise
respond to the Complaint be adjourned from January 30 until fiReen (15) days after the Court
determines Plaintiii’s Motion. The parties agree this is appropriate, in this case, as Plaintiff’s
Motion concerns this Court’s jurisdiction and the Defendants wish to reserve an opportunity to file
a motion to dismiss under the applicable rules of civil procedure.

Thank you for your consideration in regards to this matter.

  

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CC: Nixon Peabody LLP
Attn: Juan Luis Garcia, Esq.
Attorneys for Def¢ldants
SunAmerica Housing Fund 682
and SLP Housing I, LLC’s

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